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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :       19-CR-812 (PAE)
                                                                       :
CARLOS GARCIA,                                                         :    SCHEDULING ORDER
                                                                       :
                                    Defendant(s).                      :
                                                                       :
---------------------------------------------------------------------- X

PAUL A. ENGELMAYER, United States District Judge:

        The Court has been notified of dental issues affecting defendant Garcia, as a result it is

hereby ORDERED that sentencing in this matter, presently scheduled for October 20, 2020, is

ADJOURNED to December 17, 2020, at 10:30 a.m.

        SO ORDERED.


Dated: October 19, 2020                                               
                                                               __________________________________
       New York, New York                                            PAUL A. ENGELMAYER
                                                                     United States District Judge
